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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                    SHREVEPORT DIVISION


 UNITED STATES OF AMERICA                           CRIMINAL ACTION NO. 10-319

 VERSUS                                             JUDGE S. MAURICE HICKS, JR.

 JOHN DOE #1, ET AL                                 MAGISTRATE JUDGE HORNSBY


                                    MEMORANDUM ORDER

        Before the Court is Defendant David Lindsay’s (“Lindsay”) Motion to Dismiss Count

 Two and Count Three as Violations of the Double Jeopardy Clause. (Record Document

 501). Defendants Robert Sprague (“Sprague”) and Daniel Deschenes (“Deschenes”) have

 adopted Lindsay’s motion. (Record Document 555, 556). John Wyss (“Wyss”) filed a

 separate motion requesting identical relief without making any unique arguments. (Record

 Document 571). Therefore, all Motions to Dismiss can be addressed in this Memorandum

 Order. After reviewing all of the Motions to Dismiss, as well as the Government’s response

 (Record Document 582), the Defendants’ Motions to Dismiss are DENIED.

        Count One of the applicable indictment in this matter charges the Defendants with

 “engaging in a child exploitation enterprise in violation of 18 U.S.C. § 2252 A (g).” (Record

 Document 501-1 at 4).          Count Two of the indictment charges the Defendants with

 “conspiracy to advertise the distribution of child pornography in violation of 18 U.S.C. §

 2251(d)(1) & (e).” (Record Document 501-1 at 5). Count Three of the indictment alleges the

 Defendants conspired to “distribute child pornography in violation of 18 U.S.C. § 2252A (a)

 (2) (A) & (b) (1).” See id.



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         The Defendants argue that Counts Two and Three of the indictment are “violations

 of the double jeopardy clause.” (Record Document 501 at 1). The Defendants state that

 since “Count 2 and Count 3 do ‘not require proof of facts different from the child exploitation

 enterprise offense’s ‘in concert’ requirement,’ Count 2 and Count 3 are, in fact, lesser

 included offenses of Count 1, and therefore Count 2 and Count 3 should be dismissed

 pursuant to the Double Jeopardy Clause.” (Record Document 501-1 at 5).

         “The Double Jeopardy Clause of the Fifth Amendment provides that no person shall

 be subject for the same offence to be twice put in jeopardy of life or limb. [T]he Double

 Jeopardy Clause protects against three distinct abuses: a second prosecution for the same

 offense after acquittal; a second prosecution for the same offense after conviction; and

 multiple punishments for the same offense.“ United States v. Cluck, 87 F.3d 138,140 (5th

 Cir. 1996) (Citations omitted). “Central to finding a double jeopardy violation in this case

 is the establishment of multiple punishment.” See id.

         There have been no acquittals, convictions or punishments at all in this matter;

 therefore there can be no finding of double jeopardy. These motions are denied.

         Accordingly,

         IT IS ORDERED that Defendant David Lindsay’s Motion to Dismiss Count Two and

 Count Three as Violations of the Double Jeopardy Clause (Record Document 501), as

 adopted by Robert Sprague and Daniel Deschenes (Record Document 555 and 556), and

 Defendant John Wyss’ motion asserting the same (Record Document 571) be and hereby

 are DENIED. 821

         THUS DONE AND SIGNED in Shreveport, Louisiana, this 29th day of December,

 2011.




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